














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


								




NOS. PD-0964-12, PD-0965-12, PD-0966-12





SENRICK SHERN WILKERSON, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIFTH COURT OF APPEALS

DALLAS COUNTY




	Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
and 9.4(i)(2)(D) because it does not contain a copy of the opinion of the court of appeals
and the petition exceeds fifteen pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

Filed: January 16, 2013

Do Not Publish


